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                                  UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF TEXAS


In re:                                                           Case No. 09-37964
         DELPHENE JOHNSON

                      Debtor(s)



              CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

         Thomas D. Powers, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 11/24/2009.

         2) The plan was confirmed on NA .

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on NA .

         5) The case was dismissed on 02/26/2010.

         6) Number of months from filing to last payment: 2.

         7) Number of months case was pending: 6.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: $15,000.00.

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank.




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Receipts:

           Total paid by or on behalf of the debtor                                $473.75
           Less amount refunded to debtor                                            $0.00

NET RECEIPTS:                                                                                                            $473.75



Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                                $0.00
     Court Costs                                                                          $0.00
     Trustee Expenses & Compensation                                                     $38.54
     Other                                                                                $9.40
TOTAL EXPENSES OF ADMINISTRATION:                                                                                         $47.94

Attorney fees paid and disclosed by debtor:                                  $0.00



Scheduled Creditors:
Creditor                                                Claim            Claim            Claim           Principal         Int.
Name                                    Class         Scheduled         Asserted         Allowed            Paid            Paid
BAC HOME LOANS SERVICING LP         Secured               9,211.75         9,355.51            9,355.51         350.66             0.00
BAC HOME LOANS SERVICING LP         Secured                    NA        160,618.02          160,618.02           0.00             0.00
CAPITAL ONE NATIONAL ASSOC          Unsecured                  NA         29,531.90           29,531.90           0.00             0.00
CR EVERGREEN LLC                    Unsecured                  NA          8,481.11            8,481.11           0.00             0.00
JEFFERSON CAPITAL SYSTEMS LLC       Unsecured                  NA         21,487.19           21,487.19           0.00             0.00
LVNV FUNDING LLC                    Unsecured                  NA          2,043.89            2,043.89           0.00             0.00
MIDLAND CREDIT MANAGEMENT           Unsecured                  NA          3,103.35            3,103.35           0.00             0.00
ONYX ACCEPTANCE CORP                Secured               1,962.16        13,941.50           13,941.50           0.00             0.00
PRA RECEIVABLES MANAGEMENT L        Unsecured                  NA          1,074.20            1,074.20           0.00             0.00
THE BANK OF NEW YORK MELLON         Secured                    NA         39,938.94           39,938.94           0.00             0.00
THE BANK OF NEW YORK MELLON         Secured               1,978.75         1,632.46            1,632.46          75.15             0.00
WELLS FARGO BANK NA                 Unsecured                  NA         16,605.75           16,605.75           0.00             0.00




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 Summary of Disbursements to Creditors:
                                                                      Claim             Principal             Interest
                                                                    Allowed                 Paid                 Paid
 Secured Payments:
        Mortgage Ongoing                                       $200,556.96                 $0.00                $0.00
        Mortgage Arrearage                                      $10,987.97               $425.81                $0.00
        Debt Secured by Vehicle                                 $13,941.50                 $0.00                $0.00
        All Other Secured                                            $0.00                 $0.00                $0.00
 TOTAL SECURED:                                                $225,486.43               $425.81                $0.00

 Priority Unsecured Payments:
         Domestic Support Arrearage                                    $0.00               $0.00                $0.00
         Domestic Support Ongoing                                      $0.00               $0.00                $0.00
         All Other Priority                                            $0.00               $0.00                $0.00
 TOTAL PRIORITY:                                                       $0.00               $0.00                $0.00

 GENERAL UNSECURED PAYMENTS:                                     $82,327.39                $0.00                $0.00



 Disbursements:

          Expenses of Administration                                       $47.94
          Disbursements to Creditors                                      $425.81

 TOTAL DISBURSEMENTS :                                                                                      $473.75



         12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed. The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 05/14/2010                                  By: /s/ Thomas D. Powers
                                                                                 Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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